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                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF MARYLAND



 DEBORAH LAUFER, Individually,                        )
                                                      )
              Plaintiff,                              )
                                                      )
 vs.                                                  )       Case No. 20-cv-01973-SAG
                                                      )
 BRE/ESA P PORTFOLIO, LLC, A                          )
 Maryland Corporation,                                )
                                                      )
              Defendant.                              )
                                                      )

       REQUEST FOR JUDICIAL NOTICE OF DEFENDANT IN SUPPORT OF THE
                           MOTION TO DISMISS
                     Defendant BRE/ESA P Portfolio, LLC ("Defendant") hereby respectfully

requests the Court take judicial notice as follows:

             1.      Attached hereto as Exhibit 1 is a true and correct copy of results from a

nationwide federal court records search using the Courthouse News Service showing 478 cases

in which “Deborah Laufer” is listed as the plaintiff. Pursuant to Federal Rule of Evidence

201, Defendant respectfully requests the Court take judicial notice of this exhibit.

             2.      Attached hereto as Exhibit 2 are copies of the following court orders: Hernandez

v. Caesars License Co., LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ), Doc # 4;

Hernandez v. Caesars License Co., LLC, Case No. 1:19-cv-06088-RMB-KMW (USDC DNJ),

Doc # 4; Hernandez v. Montego Bay Resort and Conference Center, Case No. 1:19-cv-06091-

RMB-AMD (USDC DNJ), Doc # 4. Pursuant to Federal Rule of Evidence 201, Defendant

respectfully requests the Court take judicial notice of this exhibit.




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 Dated: August 31, 2020                          Respectfully submitted,


                                                 /s/ Michelle M. McGeogh
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                                                 Attorneys for Defendant



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                                                     Attorney for Defendant BRE/ESA P Portfolio,
                                                     LLC

                                                     Pro Hac Vice Application to be filed


                                     CERTIFICATE OF SERVICE

             The undersigned hereby declares that on this 31st day of August, 2020, a true and accurate

copy of the foregoing was served via the court’s Electronic Case Filing system on all counsel of

record.


                                                         /s/    Michelle M. McGeogh
                                                         Michelle M. McGeogh



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